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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS
                                  Sitting at Wichita

Claude R. Jenkins
                             Plaintiff

                       v.                   Case No. 13-cv-1078-RDR-KGS
Ocwen Loan Servicing, LLC
                      Defendant


                                 Notice of Dismissal

       The parties hereto give notice that the above-captioned matter should be
dismissed with prejudice.
                                          Respectfully submitted,


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